Case 1:08-cv-00175-LG-RHW Document 268-2 Filed 11/20/09 Page 1of6

1
1 IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
2 SOUTHERN DIVISION
3
4 GARY BRICE McBAY,
Plaintiff,
5
6 VERSUS CIVIL ACTION NO: 1:07cvl205LG-RHW
7
HARRISON COUNTY, MISSISSIPPI,
8 by and through its Board of
Supervisors; HARRISON COUNTY
9 SHERIFF, George Payne, in his
official capacity; CORRECTIONS
10 OFFICER MORGAN THOMPSON,
acting under color of state law,
11 Defendants.
12
13

30 (b) (6) DEPOSITION OF HARRISON
14 COUNTY SHERIFF'S DEPARTMENT,
GIBRAN WERBY, DESIGNEE

15

16 Taken at the offices of Dukes, Dukes,
Keating & Faneca, P.A., 2909 13th

17 Street, Sixth Floor, Gulfport,
Mississippi, on Friday, October 2, 2009,

18 beginning at 9:07 a.m.

19

20 APPEARANCES :

21 MARK V. WATTS, ESQUIRE
Brown Buchanan, P.A.

22 796 Vieux Marche' Mall, Suite 1
Biloxi, Mississippi 39530

23 ATTORNEY FOR PLAINTIFF

24

25

SIMPSON BURDINE & MIGUES (228) 388-3130
dusty@sbmreporting.com

Case 1:08-cv-00175-LG-RHW Document 268-2 Filed 11/20/09 Page 2 of 6

13
MS. BROOM:
That's fine.
MR. WATTS:
QO. So were you with Harrison County after

the storm for just a month or was it a few months
after?

A. Oh, no. It was a just -- it was a very
short period of time. Until the FBI came back up,
then I went back with them.

Q. Okay. And so when you were there, you
had occasion to work on an incident with an

arrestee named William David Seal?

A. I did.
Q. And how did you get that assignment?
A. As it normally was done through the

sheriff who directed Steve Campbell who directed
me.

Q. And when you would get an assignment to
go and do an investigation, what would be the
first things you would do to start that
investigation?

A. Read whatever report was available from
the complainant, if it was an outside complaint.
If it was an internal type of thing, I would read

whatever reports were generated from the internal

SIMPSON BURDINE & MIGUES (228) 388-3130
dusty@sbmreporting.com

Case 1:08-cv-00175-LG-RHW Document 268-2 Filed 11/20/09 Page 3of6

24

25

16

A. I just remember Wills and Thompson.

Q. Okay. Once you got their names, did you
go and interview Wills and/or Thompson?

A, Wills.

Q. You did not interview Thompson?

A. Bither he was not available -- I'll
be -- to be honest with you, I don't remember. I

don't believe I interviewed Thompson.
MS. BROOM:
Don't speculate. Only state what you
remember.
THE WITNESS:
I just know that I interviewed Wills

because I have notes on that.

MR. WATTS:
Q. And that was going to be my next
question. Did you record the interview?
A. No.
Q. When you worked at Professional

Standards, was it a normal procedure to record

interviews with correctional officers?

A. It depended on the situation.
Q. What would it depend upon?
A. If it was just a minor incident, I would

Just try to go down and interview as many people

SIMPSON BURDINE & MIGUES (228) 388-3130
dusty@sbmreporting.com

Case 1:08-cv-00175-LG-RHW Document 268-2 Filed 11/20/09 Page 4of6

19

A. She provided me with medical records,
and I read them to see what they put down. I
mean, that was their official documentation of the
incident.

Q. Did you record the interview with
Ms. Parker?

A. No.

Q. So you just read her records. Did she
have any impressions herself? Did she make any
statements to you?

A. I don't remember.

Q. Did you make any notes of any statements
that she would have made?

A. I just read the report.

Q. Did you make any notes of the statements

of Mr. Wills that are not contained in the report?

A. I have my notes right here.
Q. Do you mind if I look at those?
MS. BROOM:

Those have been produced in discovery as
well.
MR. WATTS:

I'll make these the next exhibit. It
will be Exhibit 20.

(Exhibit 20 was marked.)

SIMPSON BURDINE & MIGUES (228) 388-3130
dusty@sbmreporting.com

Case 1:08-cv-00175-LG-RHW Document 268-2 Filed 11/20/09 Page 5of6

33
A. I didn't see that. I don't remember
seeing that.
Q. Did you just stop watching it after they

took him to the ground?

A. Yeah. After we saw that he did
something to allow them to use the use of force.
That's all I was looking to see, if they actually
had a reason to take him to the ground. And when
IT saw that, I realized that Wills was telling me a
true statement, that he did try to strike Morgan
Thompson.

Q. Did Mr. Campbell save a copy of this
digital recording?

A. I don't know.

Q. Was it his normal procedure to save
copies of digital recordings?

A. I don't know what his -- what his -- it
was up to him to do whatever he wanted with it,
sir.

Q. Did Mr. Campbell tell you that Mr. Seal
had been in certain chat rooms on-line and was
saying things about this incident?

A. I don't know anything about that.

Q. Were you aware that Mr. Campbell called

Mr. Seal and talked to him about this incident?

SIMPSON BURDINE & MIGUES (228) 388-3130
dusty@sbmreporting.com

Case 1:08-cv-00175-LG-RHW Document 268-2 Filed 11/20/09 Page 6 of6

34

A. I was not aware.

Q. You were not aware. Are you aware that
he recorded that conversation?

A. I don't know.

Q. When you do an investigation such as
this one in Seal, is it normal for you and
Mr. Campbell to talk to the complainant?

A. No, not normal.

Q. Are you aware that there's a number of

correctional officers, specifically from the

booking room, that have pled guilty to certain

crimes?
A. I read that in the newspaper.
Q. And we've marked as exhibits some of

their plea agreements. And I'll just take Exhibit
6, for example, and it's Morgan Thompson's plea
agreement. And it says --

MS. BROOM:

I'm going to object to the extent we're
going outside his designation into the
investigation of Seal.

MR. WATTS:
Q. Morgan Thompson said that he conspired
with employees of the jail acting under the color

of law to injure, threaten, intimidate inmates by

SIMPSON BURDINE & MIGUES (228) 388-3130
dusty@sbmreporting.com

